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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. 05-cv-00377-WDM-BNB

   MOISES CARRANZA-REYES,

          Plaintiff,
   v.

   PARK COUNTY, a public entity of the State of Colorado and its governing board;
   THE PARK COUNTY BOARD OF COUNTY COMMISSIONERS;
   PARK COUNTY SHERIFF’S OFFICE, a public entity of the State of Colorado;
   FRED WEGENER, individually and in his official capacity as Sheriff of Park County, Colorado;
   MONTE GORE, individually and in his official capacity as Captain of Park County Sheriff’s
   Department;
   VICKIE PAULSEN, individually, and in her official capacity as Registered Nurse for Park
   County, Colorado; and
   JAMES BACHMAN, M.D., individually and in his official capacity as Medical Director of the
   Park County Jail;

          Defendants.

     ORDER GRANTING DEFENDANTS’ EXTENSION OF TIME TO RESPOND TO
   PLAINTIFF’S SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS


          The Court having reviewed the “Motion for Extension of Time to Respond to Plaintiff’s

   Second Set of Requests for Production of Documents From Defendants Park County, Park

   County Board of County Commissioners, Park County Sheriff’s Office, Fred Wegener and

   Monte Gore,” being duly advised in the premises, and for good cause shown, DOES HEREBY

   GRANT defendants’ motion. The above-referenced defendants shall have up to and including

   February 9, 2006, to respond to plaintiff’s second set of requests for production of documents.

          DONE ON THIS ____DAY OF _________________ 2006.

                                                        By the Court:

                                                        ________________________
                                                        District Court Judge
